       Case 6:21-cv-00016 Document 99-2 Filed on 09/08/21 in TXSD Page 1 of 4




                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION
         __________________________________________
                                                    )
         STATE OF TEXAS, STATE OF                   )
         LOUISIANA                                  )
                                                    )
                                 Plaintiffs,        )
               v.                                   ) No. 6:21-cv-00016
                                                    )
         UNITED STATES OF AMERICA, et al.           )
                                                    )
                                 Defendants.        )
         __________________________________________)

         UNITED STATES IMMIGRATION AND CUSTOMS ENFORCEMENT
      ADMINISTRATIVE RECORD FOR FEBRUARY 18, 2021 INTERIM GUIDANCE
                                DOCUMENT                                         PAGE
1. Interim Guidance: Civil Immigration Enforcement and Removal
                                                                             AR_TX_00000001
   Priorities (February 18, 2021)

2. Revision of Civil Immigration Enforcement Policies and Priorities,
                                                                             AR_TX_00000008
   Executive Order 13993 (Jan. 20, 2021).

3. Department of Homeland Security, Review of and Interim Revision to
                                                                             AR_TX_00000010
   Civil Immigration Enforcement and Removal Policies and Priorities,
   Memorandum from Acting Secretary David Pekoske (January 20, 2021).
4. Review of and Interim Revision to Civil Immigration Enforcement and
                                                                             AR_TX_00000015
   Removal Policies and Priorities, Email from Enrique M. Lucero (Jan. 21,
   2021), with attachment of DHS Acting Secretary David Pekoske January
   20, 2021 Memorandum.
5. Detention Data, Email from Tae Johnson with attachments Detention
                                                                             AR_TX_00000016
   Inventory Report 1.22.21 and Current Detained by FY21 CEIP_LESA-
   STU (Jan. 22, 2021).
6. Attachment: Detention Inventory Report (Jan. 22, 2021)- Redacted.
                                                                             AR_TX_00000020


7. Attachment: Current Detained by FY21 CEIP_LESA-STU- Redacted.
                                                                             AR_TX_00001574


                                                     1
       Case 6:21-cv-00016 Document 99-2 Filed on 09/08/21 in TXSD Page 2 of 4




8. [Redacted], Request to Continue Removal on 01/29/2021, Email from
                                                                               AR_TX_00004612
   Matthew Baker (Jan. 25, 2021), with attachment [Redacted].

9. [Redacted]- HIGH PROFILE REMOVAL OPERATION PLAN, Email
                                                                               AR_TX_00004617
   from Lynette A. Sumait (Jan. 25, 2021), with attachments High Profile
   Removal Operational Plan and Order of Judicial Removal.
10. HIGH PROFILE REMOVAL OPERATION PLAN (Jan. 20, 2021).
                                                                               AR_TX_00004618


11. Order of Judicial Removal, United States v. Ahmed, No. 12-CR-00661
                                                                               AR_TX_00004629
    (E.D.N.Y filed Jan. 27, 2016).

12. Notification to ICE Employees- Temporary Restraining Order Issued in
                                                                               AR_TX_00004631
    Texas v. United States, No. 21-00003 (S.D. Tex. Filed Jan. 22, 2021),
    Email from Matthew Allen (Jan. 26, 2021), with attachments of DHS
    January 20, 2021 Memorandum and Order Granting Plaintiff’s
    Emergency Application for a Temporary Restraining Order, Texas v.
    United States, No. 21-00003 (S.D. Tex.) (issued Jan. 26, 2021).
13. Re: Request for DHS to comply with its agreement with the Arizona
                                                                               AR_TX_00004657
    Attorney General’s Office before instituting “pause on removals”, Letter
    from Arizona Attorney General Mark Brnovich to DHS Acting Secretary
    David Pekoske, (Jan. 26, 2021).
14. AGREEMENT BETWEEN THE DEPARTMENT OF HOMELAND
                                                                               AR_TX_00004660
    SECURITY AND THE ARIZONA ATTORNEY GENERAL’S OFFICE
    AND THE ARIZONA DEPARTMENT OF LAW (Jan. 8, 2021).
15. ERO Historical book-in data to new DHS memo and PEP, Email from
                                                                               AR_TX_00004670
    Enrique M. Lucero (Jan. 27, 2021) (with attachments).

16. FY 2021 YTD ICE Book-Ins by FY CEIP Priorities, Attachment to
                                                                               AR_TX_00004673
    Enrique M. Lucero Email (Jan. 27, 2021).

17. In Re: The recent Refusal of the Department of Homeland Security to
                                                                               AR_TX_00004675
    acknowledge Immigration and Customs Enforcement Detainers (W.D.
    Tex., Jan. 28, 2021), General Order.
18. Guidance for Compliance with the Temporary Restraining Order Issued
                                                                               AR_TX_00004677
    in Texas v. United States, -- F.Supp.3d --, 2021 WL 247877 (S.D. Tex.



                                                     2
       Case 6:21-cv-00016 Document 99-2 Filed on 09/08/21 in TXSD Page 3 of 4




   Jan. 26, 2021), Memorandum from DHS Acting Secretary David
   Pekoske (Jan. 31, 2021).
19. Letter, ICE is Doubling Down on Cruelty. It Has to Stop, from Haitian
                                                                             AR_TX_00004679
    Bridge Alliance (Feb. 1, 2021).

20. Creating a Comprehensive Regional Framework To Address the Causes
                                                                             AR_TX_00004681
    of Migration, To Manage Migration Throughout North and Central
    America, and To Provide Safe and Orderly Processing of Asylum
    Seekers at the United States Border, Executive Order 14010 (Feb. 2,
    2021).
21. Establishment of Interagency Task Force on the Reunification of
                                                                             AR_TX_00004686
    Families, Executive Order 14011 (Feb. 2, 2021).

22. Restoring Faith in Our Legal Immigration Systems and Strengthening
                                                                             AR_TX_00004689
    Integration and Inclusion Efforts for New Americans, Executive Order
    14012 (Feb. 2, 2021).
23. FW: ERO DEN’s 48 Hour Notification of Subject in Custody: LPR
                                                                             AR_TX_00004693
    [Redacted], Email from Jesse Williams II (Feb. 3, 2021).

24. Letter re release of people from ICE custody pursuant to January 20
                                                                             AR_TX_00004694
    memorandum, Email from Jordan Wells ACLU, with attachment Letter
    (Feb. 2, 2021).
25. Attachment: Letter, Release of people from ICE custody pursuant to
                                                                             AR_TX_00004695
    January 20 memorandum, from ACLU (Feb. 2., 2021).

26. ICE’s Removal Priorities, Email from Tae Johnson (Feb. 4, 2021).
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27. New Biden rules for ICE point to fewer arrests and deportations, and a
                                                                             AR_TX_00004701
    more restrained agency, The Washington Post (Feb. 7, 2021).

28. Texas v. United States, No. 21-00003 (Feb. 8, 2021), Order Extending
                                                                             AR_TX_00004705
    Temporary Restraining Order (issued Feb. 8, 2021).

29. Notification to ICE Employees- Temporary Restraining Order Issued in
                                                                             AR_TX_00004711
    Texas v. United States, No. 21-00003 (S.D. Tex. filed Jan. 22, 2021),
    Email from Matthew Allen (Feb. 10, 2021).




                                                      3
       Case 6:21-cv-00016 Document 99-2 Filed on 09/08/21 in TXSD Page 4 of 4




30. Letter, NGO Letter Urging Affirmative ICE Custody Review Process
                                                                              AR_TX_00004712
    (dated Feb. 11, 2021).

31. Department of Homeland Security, Department Policy Regarding
                                                                              AR_TX_00004721
    Investigative Data and Event Deconfliction, Policy Directive 045-04
    (Oct. 18, 2016).
32. Guidance to OPLA Attorneys Regarding Implementation of the
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    President’s Executive Orders and the Secretary’s Directives on
    Immigration Enforcement, Memorandum from Tracy Short (Aug. 15,
    2017).
33. Revised Guidance for the Referral of Cases and Issuance of Notices to
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    Appear (NTAs) in Cases Involving Inadmissible and Removeable Aliens,
    USCIS Policy Memorandum PM-602-0050 (Nov. 7, 2011).
34. Updated Guidance for the Referral of Cases and Issuance of Notices to
                                                                              AR_TX_00004744
    Appear (NTAs) in Cases Involving Inadmissible and Deportable Aliens,
    USCIS Policy Memorandum PM-602-0050.1 (Jun. 28, 2018).
35. Interim Guidance for Civil Immigration Enforcement and Removal
                                                                              AR_TX_00004755
    Operations, Email from Tae Johnson (Feb. 18, 2021).

36. Frequently Asked Questions re: Interim Civil Immigration Enforcement
                                                                              AR_TX_00004756
    and Removal Policies and Priorities (Feb. 18, 2021).

37. For AD1 Review: [Redacted], Email from William Joyce (Jan. 25, 2021).
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38. Renewing Meeting Request (Implementation of Interim Priorities) +
                                                                              AR_TX_00004762
    Process Proposal for Escalation, Email Chain from Heidi Altman from
    National Immigrant Justice Center (Feb. 5, 2021), with attachment
    Letter: NGO proposal case escalations- stop gap 2.5.21.
39. Attachment, NGO proposal case escalations- stop gap 2.5.21, Letter from
                                                                              AR_TX_00004764
    NIJC (Feb. 4. 2021).




                                                     4
